UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 BRAINWAVE SCIENCE, INC.

                                    Plaintiff,


- against -

                                                                  21-cv-4402 (BMC)

                                                                  ORDER TO SHOW CAUSE FOR
                                                                  A TEMPORARY INJUNCTION
ARSHEE, INC., DR. LAWRENCE A.
FARWELL, DR. THIERRY MAISON and
BRAIN FINGERPRINTING FOUNDATION

                                     Defendants.
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          Upon the Summons and Complaint, filed August 5, 2021, the supporting Declaration

 of Krishna Ika, and the exhibits annexed thereto, and Memorandum of Law of Plaintiff

 Brainwave Science, Inc. in Support of its Motion for a Temporary Injunction and pursuant to

 Federal Rule of Civil Procedure 65, it is hereby:

          ORDERED that Defendants show cause before this Court on November___, 2021 at

 ____________ why this Court should not issue an Order, as preliminary injunctive relief,



1. Directing Defendants to immediately return to Plaintiff all originals and copies now in their

possession, custody or control of all documents and electronic records reflecting or containing

confidential or proprietary information of Plaintiff;
2. Directing Defendants to immediately disclose to Plaintiff the names and contact information

of all persons and entities with whom Defendants have disclosed Plaintiff’s confidential or

proprietary information;

3. Directing Defendants to take any and all commercially-practicable actions to recall any

software embodying Plaintiff’s confidential or proprietary information from third parties and

4. Directing that, prior to demonstrating, selling or transferring any P300-related software,

Defendants obtain, at Plaintiff’s expense, and provide to Plaintiff independent third-party

confirmation that the software does not include or embody Plaintiff’s confidential information.



       IT IS FURTHER ORDERED, that service of a copy of this Order and the papers on which

it is based upon Defendants’ Counsel of record by email before 5:00 p.m. on November 8, 2021

shall be deemed good andsufficient service; and



       IT IS FURTHER ORDERED, that answering affidavits, if any, must be served by email

upon Plaintiff’s attorney of record in this action by email no later than _____ a.m./p.m. on

November ____ , 2021 and that reply affidavits, if any, must be served by email upon Defendants’

counsel of record, no later than     __________a.m./p.m. on November_ , 2021.


SO ORDERED:

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Hon. Brian Cogan
United States District Judge, E.D.N.Y
Dated: ________________




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